Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 1 of 6




  EXHIBIT 2
                          Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 2 of 6
Gmail - Re: Exhibits and references in Reply                                                                               10/23/19, 1)26 PM




                                                                                       Molly McCann <mccann.mol@gmail.com>



 Re: Exhibits and references in Reply
 1 message

 Molly McCann                                                                                           Sun, Oct 20, 2019 at 1:49 PM
 To: "Van Grack, Brandon (NSD)"
 Cc: Sidney Powell                                           , "Ballantine, Jocelyn (USADC)"                                      ,
 William Hodes                                     , Jesse Binnall                           >,
                                               >

    Mr. Van Grack,

    Yes, please begin the process to clear the full documents that Ms. Powell mentioned in the original email: the various
    302s of the 24th,                            ,      's 302, and the agents' notes.

    Thank you,

    Molly McCann

    On Sun, Oct 20, 2019 at 1:36 PM Van Grack, Brandon (NSD) <                                               > wrote:

       Thank you for your email and effort to coordinate. We cannot unilaterally clear for public release any references,
       quotes, or materials subject to the protective order. There are equity holders, in particular the FBI, with whom we
       must consult.



       As soon as you provide us with all such references, quotes, and materials, we’ll begin the review process. While
       that can include waiting until you transmit your sealed filing, we’re also happy to start that process earlier, should
       you wish provide us with all the relevant items before Tuesday. We also draw your attention to the fact that portions
       of the 1/24/17 Flynn 302 and the 7/19/17 Strzok 302 have already been filed publicly—any references to publicly-
       available portions of those documents need not be filed under seal.



       We look forward to hearing from you.

       Brandon




       From: Sidney Powell <                                              >
       Sent: Saturday, October 19, 2019 3:54 PM
       To: Ballantine, Jocelyn (USADC) <                                          >
       Cc: Van Grack, Brandon (NSD) <                                             >; William Hodes
       <                       >; Jesse Binnall <                                          >; Molly McCann

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                          Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 3 of 6
Gmail - Re: Exhibits and references in Reply                                                                               10/23/19, 1)26 PM



       <                         >;
       Subject: Exhibits and references in Reply


       Ms. Ballantine, As it stands now, we plan to include references to and quotes from some of the materials under the
       protective order. This includes the various 302s of the 24th,                        ,       s 302, and the agents
       notes. Please as advise if you agree we may file and discuss those exhibits without being sealed. Thank you,
       Sidney Powell



       Sidney Powell PC
       SidneyPowell.com
       FederalAppeals.com

       Federal appellate attorney + author of best-seller LICENSED TO LIE: Exposing Corruption in the Department of
       Justice + Senior Fellow of the London Center for Policy Research
       This communication is attorney-client privileged and confidential.



    --
    Molly McCann
    Of Counsel, Sidney Powell P.C.

    federalappeals.com
    @molmccann




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                         Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 4 of 6
Gmail - Re: Please Review & Advise                                                                                        10/23/19, 12)27 PM




                                                                                       Molly McCann



 Re: Please Review & Advise
 1 message

 Sidney Powell                                                                                        Wed, Oct 23, 2019 at 11:10 AM
 To: Molly McCann                                 >, "Van Grack, Brandon (NSD)"                                        ,
 "Ballantine, Jocelyn (USADC)"
 Cc: "Jesse R. Binnall"                                    , William Hodes                               , Lindsay McKasson
                                     >

    Without a proposed redacted version from you that can be unsealed today or an assurance it will be
    resolved today, we will be seeking relief from the court by 5 p.m. Thank you, Sidney Powell

    Sidney Powell PC
    SidneyPowell.com
    FederalAppeals.com

    Federal appellate attorney + author of best-seller LICENSED TO LIE: Exposing Corruption in the
    Department of Justice + Senior Fellow of the London Center for Policy Research
    This communication is attorney-client privileged and confidential.


    From: Ballantine, Jocelyn (USADC)
    Sent: Wednesday, October 23, 2019 10:39:26 AM
    To: Sidney Powell                           >; Molly McCann <                                                        >; Van
    Grack, Brandon (NSD)                                >
    Cc: Jesse R. Binnall                         >; William Hodes <                                                     >; Lindsay
    McKasson <                              >
    Subject: RE: Please Review & Advise


    Ms. Powell,



    As Mr. Van Grack explained to you yesterday, we promptly forwarded your filing to the various equity
    holders to review for redaction. There is information in your filing beyond that which you flagged for us
    on Sunday. In addition, there is one sensitive matter that is unlikely to be resolved before the end of
    the day. We are working expeditiously to address these issues.



    Jocelyn


    From: Sidney Powell <                           >
    Sent: Wednesday, October 23, 2019 10:33 AM
    To: Molly McCann <                       >; Ballantine, Jocelyn (USADC)

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                         Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 5 of 6
Gmail - Re: Please Review & Advise                                                                                        10/23/19, 12)27 PM



    <                       >; Van Grack, Brandon (NSD) <                                                      >
    Cc: Jesse R. Binnall <                        >; William Hodes <                                                    >; Lindsay
    McKasson <                               >
    Subject: Re: Please Review & Advise


    Mr. Van Grack, Please be advised if we have not received your proposed redactions as to the Reply
    brief itself by 1 p.m. today, we will be filing a motion with the court. Sidney Powell

    Sidney Powell PC

    SidneyPowell.com

    FederalAppeals.com

    Federal appellate attorney + author of best-seller LICENSED TO LIE: Exposing Corruption in the
    Department of Justice + Senior Fellow of the London Center for Policy Research

    This communication is attorney-client privileged and confidential.




    From: Van Grack, Brandon (NSD) <                                   >
    Sent: Tuesday, October 22, 2019 3:34:36 PM
    To: Molly McCann <                         >; Ballantine, Jocelyn (USADC)
    <                             >
    Cc: Jesse R. Binnall <                          >; William Hodes <                                                  >; Sidney
    Powell <                           >; Lindsay McKasson <                                                             >
    Subject: RE: Please Review & Advise


    Thank you, Molly. We have circulated the motion, and your proposed edits, to the appropriate entities.
    I don’t know when that review will be complete, but we will move as fast as we can. Nevertheless, I
    can represent that we will need to request redactions beyond what you propose.



    Brandon



    From: Molly McCann <                          >
    Sent: Tuesday, October 22, 2019 12:45 PM
    To: Van Grack, Brandon (NSD) <                            >; Ballantine, Jocelyn (USADC)
    <                       >
    Cc: Jesse R. Binnall <                          >; William Hodes <                      >; Sidney
    Powell <                           >; Lindsay McKasson <                                 >
    Subject: Please Review & Advise




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                         Case 1:17-cr-00232-EGS Document 127-2 Filed 10/23/19 Page 6 of 6
Gmail - Re: Please Review & Advise                                                                                        10/23/19, 12)27 PM



    Dear Counsel,



    Attached for your review are our proposed redactions, in accord with the redactions you made in the original Motion
    to Compel. In addition, until you can complete your review process we would expect to keep the exhibits under seal.



    We'd like to resolve this as soon as possible given the national interest in this litigation and the fair administration of
    justice.



    Please advise,

    Molly McCann




    Molly McCann

    Of Counsel, Sidney Powell P.C.



    federalappeals.com

    @molmccann




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